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1                        UNITED STATES DISTRICT COURT
2                        EASTERN DISTRICT OF LOUISIANA
3
4    E.N. BISSO & SON, INC.        *              19-CV-14666
                                   *
5    versus                        *              Section E
                                   *
6    M/V Donna J. Bouchard, et al. *              February 18, 2020
     * * * * * * * * * * * * * * * *
7
8
                              PROCEEDINGS BEFORE
9                         THE HONORABLE SUSIE MORGAN
                         UNITED STATES DISTRICT JUDGE
10
11   Appearances:
12
     For E.N. Bisso & Son,             Lugenbuhl Wheaton Peck
13   Inc. and Louisiana                  Rankin & Hubbard
     Machinery Co. LLC:                BY: STEWART F. PECK, ESQ.
14                                          JAMES W. THURMAN, ESQ.
                                       601 Poydras Street, Suite 2775
15                                     New Orleans, Louisiana 70130
16
     For Crescent Towing               Salley Hite Mercer & Resor, LLC
17   & Salvage Co., Inc. and           BY: DAVID M. FLOTTE, ESQ.
     Cooper/T. Smith Mooring           365 Canal Street, Suite 1710
18   Co., Inc.:                        New Orleans, Louisiana 70130
19
     For Boland Marine                 CARY A. DESROCHES, ESQ.
20   & Industrial, LLC:                225 Phosphor Avenue
                                       Metairie, Louisiana 70005
21
22   For Boland Marine                 Couhig Partners, LLC
     & Industrial, LLC:                BY: JEFFREY T. PASTOREK, ESQ.
23                                     1100 Poydras Street, Suite 3250
                                       New Orleans, Louisiana 70163
24
25
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1    Appearances:
2
     For M/V Donna J. Bouchard,        Murphy Rogers Sloss
3    Barge B. No. 272,                   Gambel & Tompkins
     Bouchard Transportation           BY: ROBERT H. MURPHY, ESQ.
4    Company, Inc., and Tug:           701 Poydras Street, Suite 400
                                       New Orleans, Louisiana 70139
5
6    For Belle Chasse Marine           Lugenbuhl Wheaton Peck
     Transportation, LLC, in             Rankin & Hubbard
7    Civil Action 20-525:              BY: ALAN DAVIS, ESQ.
                                       601 Poydras Street, Suite 2775
8                                      New Orleans, Louisiana 70130
9
     Also Participating:               The Honorable Wendy B. Vitter
10                                     Michael F. Vitt, Esq.
                                       Morton S. Bouchard III, Esq.
11                                     Commander Damian Yemma
                                       John J. Walsh, Esq.
12
13   Official Court Reporter:          Toni Doyle Tusa, CCR, FCRR
                                       500 Poydras Street, Room B-275
14                                     New Orleans, Louisiana 70130
                                       (504) 589-7778
15
16
17
18
     Proceedings recorded by mechanical stenography using
19   computer-aided transcription software.
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1                                  PROCEEDINGS
2                              (February 18, 2020)
3                JUDGE MORGAN:    Be seated.
4                THE DEPUTY CLERK:     Calling 19-CV-14666, E.N. Bisso &
5    Son, Inc. v. M/V Donna J. Bouchard, et al., if counsel could
6    make their appearance for the record.
7                MR. PECK:   Good morning, Your Honor.       Stewart Peck
8    for E.N. Bisso, plaintiff in this matter.
9                MR. DESROCHES:    Good morning, Your Honor.       Cary
10   DesRoches for Boland Marine.
11               MR. FLOTTE:    Your Honor, David Flotte for
12   intervenors, Crescent Towing & Salvage Co., Inc. and
13   Cooper/T. Smith Mooring Co. Inc.
14               MR. MURPHY:    Your Honor, Robert Murphy representing
15   Bouchard Transportation Company and the tug and the barge
16   corporations.
17               MR. PECK:   Your Honor, I was remiss in not pointing
18   out that Mr. James Thurman, my co-counsel in this matter, is
19   sitting at the table along where Mr. Michael Vitt, who is a
20   lawyer and general counsel at E.N. Bisso.
21               JUDGE MORGAN:    Are there other parties from the
22   Coast Guard or anywhere else that are in the courtroom?
23               MR. PECK:   Your Honor, there is Lieutenant Commander
24   Yemma, who is knowledgeable, that we have been dealing with
25   about the status of the vessel and what's going on with the
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10:39   1    Coast Guard.    He is a lawyer also.
        2                JUDGE MORGAN:    Thank you.    Welcome to everybody.
        3                     This case started with a verified complaint and
        4    order to arrest the vessels M/V Donna J. Bouchard and
        5    Barge B. No. 272.     On December 18, 2019, I issued an order
        6    directing the clerk to issue an order of arrest for the barge
        7    and the vessel.     That was Document 7.     In Document 12, on that
        8    same day Blue Marine Security was appointed as substitute
        9    custodian.
        10                    On January 13, 2020, the parties requested that
        11   the Tug Donna J. Bouchard Corporation be appointed substitute
        12   custodian and at that time, in Document 18-1, Morton S.
        13   Bouchard III signed the declaration in connection with that
        14   request.
        15                    In Document 33 that I signed on February 14,
        16   2020, I ordered the Donna J. Bouchard Corporation and Morton S.
        17   Bouchard III to appear at the emergency hearing that I set for
        18   today.   At Mr. Bouchard's request, I agreed to hold the hearing
        19   in my conference room so that he could appear by telephone
        20   because I believe he lives and works in New York.
        21                    At this time we are going to adjourn to my
        22   conference room.     I'm going to have a court reporter so that
        23   what we do there is going to be on the record.          I would say
        24   that it may be a good idea for us to have the gentleman who is
        25   here for the Coast Guard to join us in the conference room so
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10:41   1    that we can hear whatever input he might have.
        2                MR. PECK:   May I have Mr. Vitt, my general counsel,
        3    attend also?
        4                JUDGE MORGAN:    Absolutely.    All counsel who are here
        5    and any parties who are here and a representative of the
        6    Coast Guard.
        7                MR. PECK:   Judge Vitter is here.
        8                JUDGE MORGAN:    I will handle that.     Thank you.     I
        9    have already visited with her and so she is also going to join
        10   us.
        11               MR. PECK:   What happened on the Bouchard Girls,
        12   Judge -- I just advised her -- the Coast Guard federalized the
        13   Girls, hired Crescent Towing, who took it to Associated
        14   Terminals in St. Bernard, so that vessel is not in the middle
        15   of the river and not a problem.
        16               JUDGE MORGAN:    Okay.   Well, that's good.     So
        17   Judge Vitter is going to join us in the conference room, if she
        18   wants to, in light of that information.         You can also explain
        19   that to me a little more when we get on the record there.           I
        20   will see you-all in the conference room in a few minutes.
        21               THE DEPUTY CLERK:     All rise.
        22               (Recess.)
        23               JUDGE MORGAN:    Good morning, Mr. Bouchard.
        24               MR. BOUCHARD:    Good morning, Your Honor.      How are
        25   you?
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10:47   1                JUDGE MORGAN:    I'm well.    Thank you.
        2                MR. BOUCHARD:    Can I just say one thing before we
        3    start, ma'am?
        4                JUDGE MORGAN:    Sure, sure.
        5                MR. BOUCHARD:    I would like to personally thank you
        6    for allowing me to testify over the phone, and your staff also
        7    for reacting over the holiday weekend.         Thank you very much.
        8                JUDGE MORGAN:    Okay.   Well, I'm glad it worked out
        9    for everybody.     I hope we can work out the bigger issues.
        10                    For the record, let's just go around and say who
        11   is here.
        12                    Stewart, if you would start.
        13               MR. PECK:    Stewart Peck for E.N. Bisso.      On my left
        14   is Mr. Michael Vitt, who is general counsel, who is a lawyer.
        15   Mr. James Thurman, who works with me, is with us.
        16               MR. DAVIS:    Alan Davis.    I'm also with Lugenbuhl.     I
        17   have a separate claimant, Belle Chasse Marine, that's not been
        18   consolidated.
        19               JUDGE MORGAN:    Same vessel, though?
        20               MR. DAVIS:    Yes, ma'am.
        21               JUDGE MORGAN:    Is something filed here?
        22               MR. DAVIS:    Yes, it has been.
        23               MR. MURPHY:    Different section of court, Your Honor.
        24               JUDGE MORGAN:    That's not your case.      That's a
        25   different case.
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10:48   1                JUDGE VITTER:    No.
        2                MR. MURPHY:    No.
        3                JUDGE MORGAN:    Who is it assigned to?
        4                MR. DAVIS:    Judge Lemelle.
        5                JUDGE MORGAN:    Did you put this as a related case?
        6                MR. DAVIS:    I believe it was listed as a related
        7    case.   It was intended to be.
        8                JUDGE MORGAN:    Do you remember the number?
        9                MR. DAVIS:    525, I believe.
        10               JUDGE MORGAN:    Well, you-all look and we'll --
        11               MR. DAVIS:    20-525, Judge.
        12               JUDGE MORGAN:    Okay.
        13               MR. DESROCHES:      Cary DesRoches for Boland Marine.
        14               MR. FLOTTE:    David Flotte for Crescent Towing &
        15   Salvage Co. and Cooper/T. Smith Mooring.
        16               MR. MURPHY:    Robert Murphy for the Bouchard
        17   interests.
        18               JUDGE MORGAN:    That's Abby.
        19               MS. SPEEG:    Hi.    I'm Trisha Speeg.   I'm interning
        20   with the Coast Guard.
        21               JUDGE MORGAN:    Oh, great.    Thank you.    Welcome.
        22               COMMANDER YEMMA:     Good morning, Your Honor.
        23   Commander Damian Yemma.      I'm the deputy staff judge advocate
        24   for the Coast Guard here in the Eighth District.
        25               JUDGE MORGAN:    How do you spell your last name?
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10:49   1                COMMANDER YEMMA:     It's Y-E-M-M-A.
        2                JUDGE VITTER:    This is my law clerk, Derbigny Daroca.
        3                JUDGE MORGAN:    Hi, Derbigny.
        4                     Judge Vitter is with us because she has another
        5    case.   Do you want to start with Judge Vitter's case?
        6                MR. PECK:   Yes.
        7                JUDGE MORGAN:    What's the number on that?
        8                JUDGE VITTER:    19-14765.
        9                MR. PECK:   We had a status conference with
        10   Judge Vitter last Friday under the same circumstances with the
        11   Bouchard Girls.     The barge was in the middle of the river off
        12   of Belle Chasse, along with the Donna and the barge 272.            The
        13   Coast Guard had their captain of the port outstanding orders.
        14   It's my understanding that the Coast Guard federalized the
        15   Bouchard Girls, had Crescent Towing bring out tugs, and they
        16   took the vessel to Associated Terminals in St. Bernard, where
        17   it's presently safely docked and they are off-loading fuel.
        18                    Is that correct, Commander Yemma?
        19               JUDGE MORGAN:    Maybe you can just give us a report.
        20               COMMANDER YEMMA:     Sure.   Yes, ma'am.
        21                    That's all accurate.      Technically, the
        22   Coast Guard federalized the pollution response for both the
        23   Donna Bouchard and the Bouchard Girls.        What that means is we
        24   made a determination that they presented a substantial threat
        25   to the environment based on the location where they were
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10:50   1    anchored and some of the manning issues and also the material
        2    condition on board.
        3                     It just happened that the Bouchard Girls was the
        4    first vessel we have been able to take action and find a
        5    terminal that was willing to take it, which is why that was
        6    moved but the Donna Bouchard remains at anchorage.          It's not
        7    like any one vessel was a priority over the other.
        8                MR. PECK:   Isn't it true that the crew from the Girls
        9    is now on the Donna Bouchard, which may ameliorate that --
        10               COMMANDER YEMMA:     Yes, sir.
        11               MR. PECK:   Why don't you tell the Court about that,
        12   not me.
        13               COMMANDER YEMMA:     Sure.
        14               MR. PECK:   Explain that to the Court, please, both
        15   judges.
        16               COMMANDER YEMMA:     Part of our actions on Friday were
        17   precipitated in part when the master of the Donna Bouchard left
        18   the vessel, I believe, the middle of last week.          I can't
        19   remember the date exactly.       As of yesterday, the last update I
        20   heard was that the master of the Bouchard Girls had moved from
        21   that vessel over to the Donna Bouchard still at anchor.
        22                    I don't know the exact crew count for each
        23   vessel now, but I do believe that the Bouchard Girls does not
        24   have a master at this point at the facility while the
        25   Donna Bouchard does have a master and, I think, four crew
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10:51   1     on board.
        2                 MR. PECK:   So it has the full complement of crew
        3     necessary?
        4                 COMMANDER YEMMA:    I can't say for sure, sir.          We have
        5     been dealing with a lot of Bouchard vessels here, in
        6     Port Arthur, and Corpus Christi.       Some of them have different
        7     manning requirements.     I'm not sure if it's four or six,
        8     specifically, for the ones here in New Orleans.
        9                 MR. MURPHY:   It's four for the certificate of
        10    inspection.    I have a copy for you, if you want to see, for the
        11    Court.
        12                     Just to make a correction, they haven't
        13    discharged any fuel --
        14                COMMANDER YEMMA:    No.
        15                MR. MURPHY:   -- or any ROBs from the Bouchard Girls.
        16    They took the vessel, brought it over to Associated Terminals
        17    in St. Bernard Parish, and docked it there.         So the Coast Guard
        18    is now going to do, as I understand, a survey as to what fuel
        19    should remain aboard.     We claim there's fuel aboard, but
        20    there's not much in the way of ROBs remaining on board.
        21                JUDGE MORGAN:    What's "ROB"?
        22                MR. MURPHY:   ROB, remaining on board.      That's the
        23    cargo that's left on board after you discharge the vessel.             We
        24    don't think it's an environmental threat.
        25                     Let me just tell you about everything that's
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10:52   1     happened.
        2                 JUDGE MORGAN:    Who is the custodian now of the Girls?
        3                 MR. MURPHY:   Bouchard Girls Corporation is the
        4     custodian of that vessel.
        5                 JUDGE VITTER:    Who is paying for it?
        6                 MR. MURPHY:   Who is paying for what?
        7                 JUDGE VITTER:    Who is paying for Bouchard Girls --
        8                 MR. MURPHY:   The movement?
        9                 JUDGE VITTER:    The movement and at dock, who is
        10    paying this?
        11                MR. MURPHY:   It's been paid by the National Pollution
        12    Fund because the Coast Guard federalized that vessel.          So they
        13    take over the responsibilities for the movement of the vessel
        14    and the safe securing of the vessel and any discharge that
        15    would take place.     That is paid out of the fund, and then they
        16    would make a claim against Bouchard, the corporation that owns
        17    the barge and tug, to repay those amounts at some later time.
        18    So that's all been paid for by the --
        19                JUDGE VITTER:    Lieutenant Commander, that's the
        20    government?    The government is paying for it?
        21                COMMANDER YEMMA:    Yes, yes, right now.      All the
        22    movement of Bouchard Girls is being paid for by the government.
        23    All the contracting, everything has been arranged by the
        24    Coast Guard.
        25                MR. MURPHY:   Nothing has been discharged from the
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10:53   1     Bouchard Girls.    The ROBs have not been discharged.        Bouchard
        2     has appealed the decision to federalize these vessels because
        3     we maintain that there's no environmental threat --
        4     Mr. Bouchard can speak to that, that there's no environmental
        5     threat presented by that vessel.       The same goes with respect to
        6     the -- well, I was talking about Bouchard Girls.          The Donna J.
        7     Bouchard is still at anchorage in the river.
        8                 JUDGE MORGAN:    Let's finish with Judge Vitter's while
        9     we are talking about it.
        10                MR. MURPHY:   Sure.
        11                JUDGE MORGAN:    It's okay?    It's safe for it to just
        12    be at that dock as it is and the Coast Guard is in charge of
        13    it?   Do we need to worry about that one at this point?
        14                COMMANDER YEMMA:    I think that situation is stable
        15    for now.    It is at the dock temporarily.      We are focusing on
        16    removing the pollution threat with the oil on board.          Once
        17    that's done, we would have to find a more long-term location
        18    for it to go, but that's a weeks to a month operation, I
        19    believe.
        20                JUDGE MORGAN:    Mr. Murphy, you are saying, well, that
        21    you are going to appeal that, but is Bouchard ready, willing,
        22    and able to take over the responsibility for it?
        23                MR. MURPHY:   We can talk to Mr. Bouchard.       He will
        24    tell you.    I understand that they are.
        25                     First of all, we don't think that anything needs
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10:54   1     to be removed.    So the Coast Guard's reaction to removing all
        2     the oil from this particular vessel we think is not the way you
        3     properly operate a vessel like that.        He can go into more
        4     detail.   I'm not an operations guy.
        5                      They say that you shouldn't remove the remaining
        6     ROBs; they don't present an environmental threat.          This is a
        7     double-hulled vessel.     Even in a collision, you are not going
        8     to have leakage into the river -- you shouldn't have leakage
        9     into the river.    We think that that vessel is now safe now that
        10    the Coast Guard has brought it alongside, taken it out of mid
        11    river, taken the concern that Bisso had, taken that away.           It's
        12    alongside.    Coast Guard has control of it.
        13                     Now there's a discussion between the Coast Guard
        14    and Bouchard as to what should be done, if really anything
        15    needs to be done, to that vessel to remove any fuel, any cargo
        16    that's aboard.    We say that nothing needs to be done.        In fact,
        17    we have told the Coast Guard that if you do remove the fuel
        18    from the tug or the barge, it's going to affect other equipment
        19    aboard.   The generators won't operate.       You won't be able to
        20    moor the vessel securely.
        21                     We have asked the Coast Guard to reconsider
        22    their position -- I have not done that, but Bouchard has --
        23    that there's other issues that need to be considered before you
        24    just go and willy-nilly take all the fuel and cargo out of this
        25    vessel because you don't need to take the cargo.          You can't
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10:56   1     take the fuel.    If you take the fuel, you affect the vessel's
        2     ability to actually remain in position and operate.
        3                      So that's a discussion that's going on between
        4     operations people, and we think -- as I understand it, we made
        5     a first application on Saturday, right after the federalization
        6     notice was received.     That was denied.     We made another
        7     presentation yesterday.      As I understand, command of
        8     Coast Guard is now considering our request.         Hopefully it's a
        9     more thoughtful process.      We think we are right with respect to
        10    what should be done with the vessel at this time.          So that's
        11    the Bouchard Girls.
        12               JUDGE MORGAN:     Is there a custodian of the
        13    Bouchard Girls, or is it basically the government at this
        14    point?
        15               COMMANDER YEMMA:     Right now it's basically the
        16    government, Your Honor.      When the Bouchard Girls was moved,
        17    that was pursuant to a contract that the Coast Guard set up.           I
        18    forget who our contractor is, but we hired the tugs to come
        19    move it and are making the arrangements with the facility.
        20               JUDGE VITTER:     If I can ask a question.      So if you're
        21    appealing the decision to federalize it --
        22               MR. MURPHY:    Right.
        23               JUDGE VITTER:     -- and if it went back to you, are you
        24    going to pay for the docking fees?
        25               MR. MURPHY:    That might still be part of the
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10:57   1     federalization.    I don't know.     You will have to ask
        2     Mr. Bouchard that.
        3                JUDGE MORGAN:     Well, why would the government pay for
        4     your docking fees?
        5                MR. MURPHY:    They probably have to pay for the
        6     docking fees up to this time, while it was federalized, and
        7     then there would have to be a discussion who is going to pay
        8     for those docking fees thereafter.       We can ask Mr. Bouchard
        9     what his plans are for that.
        10               MR. PECK:    Well, I have two points.      First of all,
        11    the Bouchard Girls Corp., whatever it is, is the substitute
        12    custodian under the order of Judge Vitter.         It's allowed to be
        13    moved within the river, but you have an order saying we have to
        14    do something about you taking custody of it because
        15    Judge Vitter's ruling order says it's Bouchard Girls.
        16                     Second of all, Mr. Murphy, in all due respect to
        17    you about your appeals to the Coast Guard, if they didn't do
        18    that, it was still in the river undermanned without enough
        19    people on it.    That's our concern there for that vessel.          If
        20    they moved the Donna Bouchard -- we'll move on with
        21    Judge Morgan -- is that properly manned?
        22               MR. MURPHY:    Once the vessel is moved to a berth, you
        23    don't have to have any manning, as I understand it.
        24               JUDGE MORGAN:     But you and the intervenors have
        25    claims against that vessel --
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10:58   1                MR. PECK:    Correct.
        2                JUDGE MORGAN:     -- that you still want to go forward.
        3                MR. PECK:    Well, that's correct, Your Honor, although
        4     we don't know what the Coast Guard -- they claim they are going
        5     to come in and file something.       The difference between the
        6     Girls and that barge and the Donna is the Girls has a mortgage
        7     with Wells Fargo, which we may be behind.        We were not going to
        8     concede that.    The Donna Bouchard -- I have the abstracts.        The
        9     barge and the tug has no mortgage on it.        It's worth over a
        10    hundred million dollars and has no mortgage on it.
        11               MR. MURPHY:    That has nothing to do with the safety
        12    issues that you brought to the Court.
        13               JUDGE MORGAN:     Right, right.
        14               MR. MURPHY:    Whether it has a mortgage or not, it
        15    doesn't make a difference.      If you are really concerned about
        16    the safety of the river, safety of the vessel, it's what we are
        17    trying to do with the Coast Guard to make sure that it's safe.
        18                     The first step was when they took the
        19    federalization, and now we are telling them why we think
        20    federalization should not occur.       I think you will hear
        21    Mr. Bouchard say that we are willing to man that vessel, crew
        22    that vessel, and take responsibility for it.         You will have to
        23    hear it from him.
        24               JUDGE VITTER:     Can I ask Mr. Bouchard?
        25                     Mr. Bouchard, you're on the phone?
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10:59   1                MR. BOUCHARD:     Yes, ma'am.    Yes.   Yes, I am.
        2                JUDGE VITTER:     This is Wendy Vitter.     I'm the judge
        3     in the Bouchard Girls case.
        4                MR. BOUCHARD:     Okay.
        5                JUDGE VITTER:     I'm hearing from your counsel that
        6     y'all want to become custodian again of the Bouchard Girls and
        7     that the Coast Guard is currently the custodian of the
        8     Bouchard Girls.    Is that accurate?
        9                MR. BOUCHARD:     That is accurate.
        10               JUDGE VITTER:     Now, I met with your counsel and all
        11    the counsel on Friday, and it was represented to me that
        12    Bouchard was not able to move the vessel from the middle of the
        13    river because you didn't have enough crew at the time.              What
        14    has changed that you can now -- are you now telling the Court
        15    or can you that you can be the custodian, crew it adequately,
        16    and pay whatever docking fees?
        17               MR. BOUCHARD:     Well, where she is moored right now,
        18    Your Honor, as per the documentation, we have a captain, a
        19    mate, and an engineer on her, and we have a barge captain on
        20    the 265.
        21               JUDGE VITTER:     Excuse me one minute, Mr. Bouchard.            I
        22    thought I just understood from the lieutenant commander that
        23    the crew went to the Donna Bouchard; you don't have anybody on
        24    the Bouchard Girls.
        25               COMMANDER YEMMA:     Just the captain.
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11:00   1                MR. BOUCHARD:     That is not accurate, Your Honor.
        2                JUDGE VITTER:     Just the captain.     The lieutenant
        3     commander said just the captain.
        4                MR. BOUCHARD:     In fact, the captain is still on the
        5     Bouchard Girls.    The captain is still there.       He didn't go to
        6     the Donna because the Donna mate was acting as captain.             The
        7     Donna is fully crewed, as well as the 272, within her COI.
        8     There's a lot of information going around here that isn't
        9     accurate, but I understand where it comes from.
        10               JUDGE VITTER:     My question was:    How are you going to
        11    crew it, have crew and pay for the docking fees?
        12               MR. MURPHY:    We are talking about the Bouchard Girls
        13    here, Mr. Bouchard.     Bouchard Girls, can we crew it and pay for
        14    the docking fees?
        15               MR. BOUCHARD:     Yes.
        16               JUDGE VITTER:     You couldn't do it Friday.      How can
        17    you do it today, on Tuesday?
        18               MR. BOUCHARD:     Well, Friday we were never asked if we
        19    could do it, Your Honor.
        20               JUDGE VITTER:     Well, actually, in a meeting with your
        21    counsel, the whole discussion was how to get the vessel moved.
        22    It was indicated to me that it didn't have enough crew, so it
        23    couldn't move at all without sufficient crew, and that you had
        24    crew walking off because you had not paid the crew.
        25               MR. BOUCHARD:     That is accurate, Your Honor.
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11:02   1     However, where they are now, where they are moored, we have
        2     adequate crew on board.      We were looking all along for places
        3     to tie up the Girls and the 295, and we couldn't find any
        4     facility.    The Coast Guard found one.      We have a captain
        5     on board, the mate, the engineer, and the barge captain on the
        6     295.
        7                 JUDGE MORGAN:    Can they stay there after the
        8     Coast Guard leaves?     Is that a place where it's feasible?
        9                 MR. BOUCHARD:    Well, yeah, as long as they don't
        10    drain the vessel, as the Coast Guard wants, of all the fuel and
        11    lube, etc., because they have to run the generators.          They have
        12    to run the mooring winches.      This is a big oceangoing barge.
        13    You can't just tie her up with soft lines.         When the river
        14    rises and falls, you have to use the mooring winches.          The crew
        15    has to have electrical power on the boat with grub, water,
        16    etc., as well as lights.
        17                JUDGE MORGAN:    I was asking a more basic question of
        18    once the Coast Guard is off, will that facility allow that
        19    vessel to stay there.
        20                COMMANDER YEMMA:    I don't know, Your Honor.      The most
        21    that we can do with the money that we are using is keep it
        22    there until we have taken the action to eliminate the pollution
        23    threat, which we are focusing on the residual cargo on the
        24    barge and how much of that we can remove.        Once that's done,
        25    our pot of money essentially turns off to pay to keep it there,
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11:03   1     and we have to find someplace else to go.
        2                MR. PECK:    There's another issue I want to raise
        3     here.   This goes to the Girls, but it also goes to the
        4     Donna Bouchard.
        5                      When Mr. Bouchard signed his declaration, he
        6     attached his certificate of insurance.        That certificate of
        7     issue has P&I and hull insurance.       The protection and the
        8     indemnity, the P&I insurance says it expires this Thursday, on
        9     February 20, 2020, which is a concern also for all the lien
        10    claimants, for everyone, this insurance.
        11                     We need to know from Mr. -- I'll direct that to
        12    counsel.   I can only talk to counsel.       Will this be renewed?
        13    With the Bouchard entities having financial problems, I have to
        14    make sure we have insurance.
        15               MR. MURPHY:    I will have to have Mr. Bouchard answer
        16    that question.    I'm sure they are going to renew the insurance.
        17               JUDGE MORGAN:     What's the status of the insurance,
        18    Mr. Bouchard?
        19               MR. BOUCHARD:     Your Honor, I can tell you P&I
        20    insurance renews February 20 for all the IG groups.          There's
        21    14 "I" groups in the international group.        February 20,
        22    everybody renews.     Bouchard Transportation's P&I coverage was
        23    renewed in the beginning of November, very, very early, the
        24    first one in our club, due to our safety record and due to the
        25    performance over the last five years.        We renewed the P&I.    We
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11:04   1     are in the UK Club.     I don't see any reason why the
        2     certificates will not be issued on Thursday.
        3                      I don't know where that's coming from, but it's
        4     another Bouchard bashing -- unless these people have talked to
        5     the UK Club and they told them they are not renewing when we
        6     have a contract, which I'll get a solicitor in London to handle
        7     it.
        8                JUDGE MORGAN:     Is there any reason you couldn't get
        9     it ahead of Thursday?     Couldn't you get the certificate now
        10    with a date showing it starts on Thursday?
        11               MR. BOUCHARD:     They issue them on the date of
        12    renewal.
        13               MR. MURPHY:    It might be even later.      The way the P&I
        14    clubs work, sometimes it's weeks later.
        15               MR. BOUCHARD:     Jack?   Jack?
        16               MR. WALSH:    Yeah.
        17               MR. BOUCHARD:     They made an indication that the
        18    UK Club went back on their word.       I want to get a solicitor in
        19    London today to start going after the UK Club.
        20               MR. PECK:    We don't know that.
        21               MR. MURPHY:    They don't know that.
        22               JUDGE MORGAN:     Who is Jack?
        23               MR. MURPHY:    Jack is Jack Walsh.      He is an attorney.
        24               MR. WALSH:    Your Honor, this is John Walsh with
        25    Freehill Hogan & Mahar.      I introduced myself to your law clerk,
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11:05   1     but I didn't have a chance to tell you I'm on the phone.
        2                JUDGE MORGAN:     Okay.
        3                MR. WALSH:    Sorry about that.
        4                JUDGE MORGAN:     So what's the situation with the
        5     insurance renewal?
        6                MR. WALSH:    Well, I think, Your Honor, we can get the
        7     broker to issue a certificate of coverage.
        8                JUDGE MORGAN:     Could you try to do it today and get
        9     it out to all counsel?
        10               MR. WALSH:    I definitely will try.
        11               JUDGE MORGAN:     If not today -- because they are
        12    later, I guess, in London -- tomorrow.        It may be too late
        13    today, but you can do it first thing in the morning.
        14               MR. WALSH:    Okay, Judge.    Will do.
        15               JUDGE MORGAN:     That would give everyone some comfort.
        16               MR. PECK:    This is Stewart Peck for E.N. Bisso.        To
        17    give you a little context, attached to Mr. Bouchard's
        18    declaration was a certificate of insurance, and that
        19    certificate showed expiration of the P&I of 2/20, and that's
        20    all we know.
        21               MR. MURPHY:    That's the renewal date for every -- you
        22    know that.    It's the renewal date for every IG club that issues
        23    insurance, P&I insurance.      It's 2/20 every year.
        24               JUDGE MORGAN:     It's not surprising that they would be
        25    concerned about it.
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11:06   1                MR. MURPHY:    Oh, no question.
        2                MR. PECK:    He is not paying crew.      I was worried
        3     about insurance being paid.      That's all.
        4                JUDGE MORGAN:     The sooner you can get that, the
        5     better.
        6                MR. MURPHY:    Can I just add?
        7                      Mr. Bouchard, how many crew do we have aboard
        8     the Bouchard Girls right now?
        9                MR. BOUCHARD:     We have a captain, mate, and engineer.
        10               MR. MURPHY:    Is that sufficient to man the vessel
        11    while the vessel is alongside the dock?
        12               MR. BOUCHARD:     More than sufficient.     Usually for a
        13    tug of this size, we go in to tie up the way we are, we just
        14    leave the engineer on board.
        15               MR. MURPHY:    Judge Vitter, I don't think that there's
        16    an issue related to safety at this stage with this vessel.
        17    It's properly manned.     The Coast Guard is now doing a survey as
        18    to what's going to be done with that vessel.         As I said before,
        19    we think that they should not take any action because it's
        20    going to affect a whole lot of different systems on the vessel
        21    and it's going to put the vessel in peril, but that's an
        22    operational discussion that I don't think -- the Court needs to
        23    know the result of that, but as to the mechanics of what goes
        24    on and what's important and what's necessary, I think that has
        25    to be worked out operationally between the Coast Guard and
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11:08   1     Bouchard Transportation.
        2                JUDGE VITTER:     Lieutenant Commander, is that your
        3     understanding, the captain, the mate, and the engineer remain
        4     on the Bouchard Girls?
        5                COMMANDER YEMMA:     That's different than what I had
        6     heard earlier today, but I haven't gotten an update recently.
        7     My understanding was yesterday the master of the Bouchard Girls
        8     was moving to the Donna Bouchard.       Maybe that was a plan that
        9     they didn't need to follow through on.        I don't know for sure
        10    the crew status right now.
        11               JUDGE MORGAN:     In the bigger picture, there's still
        12    all these people sitting around the table who say they are owed
        13    money by Bouchard.     That's the big picture.      I know safety is
        14    important.    If that hasn't changed, then we still have to go
        15    forward with the vessel seizures and sales.
        16                     Has anything changed about that, Mr. Bouchard or
        17    Mr. Walsh?
        18               MR. WALSH:    I'll let Mr. Bouchard handle that.
        19                     Mort.
        20               MR. MURPHY:    Mort.
        21               MR. BOUCHARD:     Yeah.   Your Honor, yeah, there has
        22    been some changes.     I'm not going to get into how Bouchard got
        23    into this position because there's a lot of variables and
        24    responsible parties, but that's all I've been working on for
        25    the last month.    We have hopefully some assets being agreed to
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11:09   1     be sold today.    We are waiting for a survey report.        We also
        2     are in final negotiations today with the financing of the fleet
        3     to get the company back up and running where it should be.
        4                JUDGE MORGAN:     All right.
        5                MR. BOUCHARD:     Positive changes, Your Honor.          All
        6     this Bouchard bashing is just mind-boggling to me.          This is a
        7     company with a strong balance sheet.        Nobody sees our finances
        8     but myself, my CFO, our auditor, and our bank.         I'm pretty
        9     confident that we will be out of this very shortly.
        10               JUDGE MORGAN:     Stewart, would it be helpful for them
        11    to have a discussion with you later about --
        12               MR. PECK:    Yeah.
        13               JUDGE MORGAN:     All you-all want to do is be paid.
        14               MR. PECK:    Right.
        15               MR. MURPHY:    Judge, let me tell you.      I have
        16    solicited from Stewart and from other parties around the
        17    table -- not Boland because he is in a different situation, but
        18    we have asked them for settlement demands to see if we can get
        19    this thing resolved.     We did have this thing almost settled a
        20    month ago.    They would have been paid.      Cooper would have been
        21    paid.   Everybody would have been paid.
        22                     Mercuria, the charterer who was going to charter
        23    our vessel and pay an upfront $600,000 to us, which would have
        24    allowed us to have paid all these people off, they changed the
        25    load port from in the river here to Houston.         When I presented
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11:11   1     that to Bisso, that we needed to have a settlement agreement to
        2     allow us to proceed to Houston to pick up this cargo -- release
        3     this arrest, let us go over there, grab the cargo, get paid, we
        4     will pay you off -- at first Bisso wouldn't agree to it and the
        5     deal fell through.      Bisso later said that they would agree to
        6     it with some terms.
        7                      We had an agreement.      We almost had this thing
        8     resolved and we wouldn't be in front of you today, but it fell
        9     through because the load port took us out of this jurisdiction.
        10    So it's a little unusual.      Usually vessels can proceed within
        11    the jurisdiction.
        12                     What we were asking Bisso to do -- and they
        13    considered it -- to allow us to leave from New Orleans out of
        14    the river, go to Houston, load the cargo, as soon as we were
        15    loaded we would get paid and we would pay them -- they didn't
        16    want the risks involved or whatever.        We didn't think there was
        17    any risk.
        18                JUDGE MORGAN:    Anyway, where we are now is trying to
        19    find a way to get everybody paid and resolve this.
        20                MR. PECK:   Judge, as I told you -- and, you know,
        21    Bouchard has been a longtime, famous Jones Act carrier.             I
        22    explained to you I have the abstracts on the Donna and the
        23    B. No. 272.    There's no mortgage on them, so they have lots of
        24    assets.   I'm not privy to their balance sheet, but I know their
        25    balance sheet has a bunch of unencumbered assets on it.             This
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11:12   1     vessel should be worth over a hundred million dollars.
        2                 JUDGE MORGAN:    Mr. Bouchard, everybody is pulling for
        3     you to resolve this.
        4                 MR. PECK:   Everybody has been vendors of Bouchard a
        5     long time, Judge.
        6                 JUDGE MORGAN:    And to do it quickly, though, in a
        7     time where it's feasible and reasonable for the plaintiff and
        8     the intervenors to let you work it out.        You need to be showing
        9     them what you're doing and how long it's going to take, and see
        10    if you can convince them to wait to get paid for a while.
        11                     Let's talk about the safety of the Donna J.
        12    Bouchard.
        13                MR. MURPHY:   As I understand -- and Mr. Bouchard can
        14    confirm it -- that vessel is now fully crewed.         Our certificate
        15    of inspection requires four crew members be aboard that vessel,
        16    and we have those four crew members aboard the vessel.
        17                     We are, again, in discussion with the
        18    Coast Guard about the fact that they do not need to move this
        19    vessel.   They do not need go through the purging of all the
        20    cargo on the vessel, which we maintain is just a very limited
        21    amount, does not present any kind of environmental hazard on
        22    this double-hulled vessel.      We also say that you do not take
        23    the fuel off the tug and the barge because it's going to
        24    present more safety concerns than you could ever think of.          So
        25    we are in those discussions with the Coast Guard right now.         We
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11:13   1     are hoping to have a resolution of it --
        2                      I don't know.    Did you say your command was
        3     considering it right now?
        4                COMMANDER YEMMA:     I believe they are having a
        5     conference call this morning, yes, sir, to go over the latest
        6     reconsideration requests that came in yesterday and verify the
        7     crewing status on both these vessels and the conditions.
        8                JUDGE MORGAN:     On the Donna J. Bouchard, wasn't there
        9     an issue about power also?
        10               MR. MURPHY:    That's been resolved.      Mr. Bouchard can
        11    speak about it.    It's a generator that was some kind of a
        12    problem, I think, since coming out of the shipyard.          They have
        13    had intermittent problems with it.       A company by the name of
        14    Rio was aboard the vessel.      The generator problem was resolved.
        15    It's fixed.
        16               JUDGE MORGAN:     Mr. Bouchard, can you --
        17               COMMANDER YEMMA:     That was reported to the
        18    Coast Guard on Friday.     I do believe we received some paperwork
        19    on it, but the Coast Guard inspection team has not yet been
        20    on board to verify that.
        21               JUDGE MORGAN:     Mr. Bouchard, what's your
        22    understanding with respect to the crew and the electricity on
        23    the Donna Bouchard?
        24               MR. BOUCHARD:     Well, the electricity on the
        25    Donna Bouchard, Your Honor, was fully rectified by Rio Marine
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11:14   1     on Friday.    It was a simple circuit breaker.       It took no more
        2     than two hours.    When the Rio tech was on board Friday night,
        3     he finished it, but the vessel had to go completely dark to
        4     test all the circuit breakers according to ABS and GNB.             They
        5     didn't want to do it Friday night.       They came back Saturday,
        6     did it.    The test was satisfactory.      The report was submitted
        7     to the Coast Guard Friday night and Saturday.
        8                      The boat is fully operational.       She has full
        9     steering.    There's no issues on it.      She is only three years
        10    old.   She has a full crew.     The second captain will be in at
        11    the end of the week.     He is sitting for his renewal of his EDIC
        12    license.    He will be in.    The barge has the barge captain, the
        13    barge mate.
        14                     Now, this is something to keep in mind,
        15    Your Honor.    This is a ship.    This is not an ordinary barge
        16    that you look at.     The barge has inert gas, crude oil washing,
        17    a clean water ballast system, mooring winches, multiple
        18    generators.    She has zero ROBs.     There's no environmental
        19    threat.
        20                     When we built this unit, this ATB, the
        21    commissioner took almost two months just to get the fuel
        22    on board and get all the systems up and running.          You can't dry
        23    this boat -- well, you could, but you are going to damage it.
        24    If the Coast Guard wants to do that -- which I don't believe
        25    they do, the Coast Guard is smarter than I am -- it would be
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11:16   1     more of a risk than we think there is now.         The tug has clean
        2     water ballast on her also.
        3                      We just got an inquiry today for a load out of
        4     Houston going to the mid-Atlantic that I believe the office is
        5     bidding right now for a trip.        She is not an environmental
        6     risk.   The crew is fine.     The crew is happy.      The electrical
        7     system was fixed.
        8                JUDGE MORGAN:     So the situation now is the
        9     Coast Guard is going to go back out and look at the
        10    Donna Bouchard, verify the condition, I assume?
        11               COMMANDER YEMMA:     Yes, ma'am.    Yes, ma'am.    The
        12    condition and the crew --
        13               MR. MURPHY:    Of the generator.
        14               JUDGE MORGAN:     Crew.
        15               COMMANDER YEMMA:     Yes, ma'am.    Yes.
        16               MR. PECK:    The crewing was the big problem.       That's
        17    why we alerted the Court.      We heard from the Coast Guard crew
        18    members are leaving.     We were worried about not enough crew or
        19    people being in the middle of the river, and that's why we
        20    alerted the Court.     Our information was from the Coast Guard.
        21               MR. BOUCHARD:     Could I ask one question?      Where did
        22    that report come from?
        23               MR. PECK:    The Coast Guard.     We were told by the
        24    Coast Guard about -- our source was the Coast Guard --
        25               COMMANDER YEMMA:     Yes.
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11:17   1                MR. PECK:    -- and the captain of the port.
        2                COMMANDER YEMMA:     I think that's correct.
        3                MR. PECK:    They were telling us the crew members were
        4     leaving.
        5                MR. BOUCHARD:     Okay.
        6                COMMANDER YEMMA:     Yes.   There were captain of the
        7     port orders that were issued early last week to address the
        8     crewing concerns.     When those were not acted upon, we went to
        9     federalize on Friday, to take over and start taking action,
        10    government-funded action to remediate the pollution threat.
        11    Our main concern is crewing and long-term assurance that the
        12    crewing standards will be maintained while the vessel is there
        13    at anchor.    The crew may be replaced now, but if they are not
        14    relieved regularly or their crewing requirements are not
        15    maintained, we will be right back in the situation where we
        16    find ourselves again.
        17               JUDGE MORGAN:     Mr. Bouchard, Judge Vitter and I live
        18    in New Orleans and so we have seen the damage that can be done.
        19    We were not comfortable unless we were assured that it was
        20    safe.   I'm glad the Coast Guard has brought it to people's
        21    attention and that they are going to keep looking at it because
        22    we take it very seriously.
        23               MR. BOUCHARD:     Your Honor, I support that a hundred
        24    percent.
        25               MR. MURPHY:    Judge, I think the crewing situation on
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11:18   1     the Donna J. Bouchard came up when a captain suddenly left.          So
        2     instead of having the four crew members, I think we were down
        3     to three.
        4                      Is that right, Mort, or do I have that wrong?
        5                 MR. BOUCHARD:    You know, Bob, I don't know.      I
        6     couldn't say either way.
        7                 JUDGE MORGAN:    Would it be accurate to say that over
        8     the next couple of days that you-all are going to be exchanging
        9     information between each other and with the Coast Guard and
        10    trying to get the insurance certificate so that there's more of
        11    a comfort level that would give Bouchard a little more time to
        12    try to work this out?
        13                MR. PECK:   We are not anti-Bouchard.      We want to get
        14    paid.   It's just when people tell us that crew members are
        15    leaving -- that's not our source, the Coast Guard -- we get
        16    concerned.    We have to tell you-all about it because it's a
        17    problem of something would break loose and all.
        18                JUDGE MORGAN:    The Bouchard order that appointed
        19    Bouchard Corporation as the custodian is in effect, and they
        20    are now assuring me -- Mr. Bouchard is assuring me that they
        21    are complying with their obligations right now, and the
        22    Coast Guard is going to verify that --
        23                COMMANDER YEMMA:    Yes, ma'am.
        24                JUDGE MORGAN:    -- and let counsel in this case know.
        25    If there's still a problem, they will let me know.
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11:20   1                MR. PECK:    We need to know if the crew starts leaving
        2     again, and I will have to alert you.
        3                MR. BOUCHARD:     Yeah.   I agree with that a hundred
        4     percent.
        5                JUDGE MORGAN:     With the Girls, I guess there still is
        6     an order that Bouchard is the custodian, but in effect the
        7     Coast Guard has taken control of that vessel at this point.
        8                COMMANDER YEMMA:     Yes, ma'am.
        9                MR. MURPHY:    It's got control for the purpose of
        10    determining whether they are going to remove the ROBs and the
        11    fuel.   We do have crew aboard the vessel, which Mr. Bouchard
        12    says is sufficient in a tied-up ship situation.
        13               MR. PECK:    None of the lien claimants in the mortgage
        14    wants any damage to the vessel from taking this stuff off.            We
        15    all have an interest to make sure the vessels are kept -- we
        16    are on Bouchard's side of this.
        17               MR. MURPHY:    You're interested in getting some money
        18    out of this?
        19               MR. PECK:    Well, we are interested in the vessels not
        20    getting damaged because these are very big, valuable -- these
        21    are oceangoing.    These are big things.
        22               MR. MURPHY:    The Donna J. is 3-years old, Mort?
        23               MR. BOUCHARD:     Yes.
        24               MR. MURPHY:    How old is the Bouchard Girls?
        25               MR. BOUCHARD:     Oh, God.   I don't know.     She was a
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11:21   1     retrofit to double hull.      I would have to go back and look.
        2     Excuse me for not knowing.
        3                 MR. MURPHY:   What do they say about not asking
        4     questions of your client when you don't know the answer?            Here
        5     I am.
        6                 JUDGE MORGAN:    He has a lot of vessels to try to keep
        7     track of.
        8                 MR. BOUCHARD:    Your Honor, sometimes I'm fried.
        9                 JUDGE MORGAN:    Is there anybody who is here
        10    representing any of the parties who is not content at this
        11    point to keep the status quo in effect with respect to the
        12    pleadings, anyway, and for you-all to work together to exchange
        13    information and to try to assure yourselves that the vessels
        14    are safe and insured and that Bouchard is diligently working to
        15    resolve its financial problems so that it can make payments?
        16                MR. PECK:   We will work with them on that.       As
        17    obligations to you two, if something comes up, we will alert
        18    you.    We felt obligated to tell you what's going on.
        19                JUDGE MORGAN:    Absolutely.    Absolutely.
        20                MR. PECK:   We will monitor that.      Again, our source
        21    is the Coast Guard.     That's who caused the alarm for us.
        22                JUDGE MORGAN:    I assume if this process falls
        23    apart -- you don't get the insurance, you're worried about
        24    crewing again, or you don't see any progress by Bouchard in
        25    getting this resolved -- then you are going to be back asking
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11:22   1     for an order to sell the vessels.
        2                MR. PECK:    Well, we are going to be filing a motion
        3     for an interlocutory sale in both cases to set up a time
        4     certain that something happens here because of all the costs we
        5     are having and all these difficulties.         So that will set some
        6     outside date.
        7                MR. MURPHY:    You don't have any costs now.
        8                MR. PECK:    We will have an outside date.
        9                JUDGE MORGAN:     You understand that, Mr. Bouchard,
        10    because it takes a while --
        11               MR. PECK:    About a month.
        12               JUDGE MORGAN:     -- to advertise and get to the sale.
        13    If they file a motion for the interlocutory sale, it doesn't
        14    mean they don't want to continue to work with you to try to get
        15    this resolved.
        16                     Correct?
        17               MR. PECK:    That's correct.
        18               JUDGE VITTER:     In my case, if I may, I have an
        19    ex parte consent motion to issue a warrant of arrest.          That's
        20    yours, Mr. DesRoches.
        21               MR. DESROCHES:     Yes, Your Honor.
        22               JUDGE MORGAN:     Is that moot?
        23               MR. DESROCHES:     It's still on.    We still need it.
        24               JUDGE VITTER:     You still need it.
        25               JUDGE MORGAN:     So it's arrested more than once?
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11:23   1                 MR. MURPHY:   Let me tell you, Judge.
        2                 MR. PECK:   There's a reason for it.      There's a reason
        3     for that.
        4                 JUDGE MORGAN:    One at a time.
        5                 JUDGE VITTER:    Mr. DesRoches.
        6                 MR. DESROCHES:    We are going to come behind Mr. Peck
        7     and his client.    If Bouchard reaches a settlement with Bisso, I
        8     have to have an arrest in place to come behind it.
        9                 MR. PECK:   That's correct.
        10                MR. MURPHY:   Judge, part of the financial problems
        11    that Bouchard has experienced over the last couple weeks is
        12    because their accounts were grabbed by Boland, of all places,
        13    in the middle of Texas, Austin, Texas.        They grabbed some
        14    Wells Fargo accounts.     The accounts are not in Texas.       The
        15    accounts are in New York.      They grabbed those accounts.         I
        16    think it's close to a million dollars.        I thought it was a
        17    million seven.
        18                MR. BOUCHARD:    A million seven.
        19                MR. DESROCHES:    That's incorrect.
        20                MR. MURPHY:   Well, a lot of money was taken.           All
        21    their accounts were frozen at Wells Fargo.         Part of the reason
        22    people weren't paid and they had funding problems is because
        23    the accounts were seized.      There's a motion in Austin pending
        24    right now.    They are waiting for the judge to make a ruling as
        25    to whether that attachment was proper.
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11:24   1                      Correct?
        2                MR. DESROCHES:     That's correct.    The attachment, just
        3     incidentally, was a half a million dollars.
        4                MR. BOUCHARD:     Bob, if I could say something on that?
        5                MR. MURPHY:    Sure.
        6                MR. BOUCHARD:     Your Honor, I can tell you, the way I
        7     found out about that, I came in the office and the CFO:
        8                      "We have no money.     We have no money."
        9                      "What do you mean?     We had a lot of money in the
        10    account.   Where did it go?"
        11                     "It was seized."
        12                     To tell you how bad it is, Your Honor, when I
        13    was in Austin with this judge, he said, "This is sick.              This
        14    makes me sick.    I'm in the middle of Texas.       There's no water
        15    here.   This is Louisiana and Bouchard is a New York company.
        16    Why are we in Austin, Texas?"
        17                     Now, the second part, to show you how bad it is,
        18    the 295 needed a part for an MSB (phonetic) system, which is
        19    the toilet.    The part is in Boland Marine.       We wanted to get
        20    the part over the weekend.      The crew can fix it.      Boland Marine
        21    wouldn't release the part to Bouchard because of the lawsuit.
        22    This part has nothing to do with that lawsuit.
        23               JUDGE MORGAN:     How much do you say they owe your
        24    client?
        25               MR. DESROCHES:     One four principal, and it's over
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11:25   1     two years old.
        2                JUDGE MORGAN:     That's why he is getting cantankerous.
        3     His client says it's owed a million four for two years.             That's
        4     the real challenge, Mr. Bouchard, for you to be able to work
        5     out your company's, I hope, temporary financial difficulties so
        6     everybody can move on.
        7                MR. BOUCHARD:     Well, your Honor, prior to them doing
        8     that, I thought I had an agreement with Boland, but we didn't.
        9     What I'm surprised at, how they can hold some of our equipment
        10    that's needed for a safe operation that has nothing to do with
        11    this arrest and say we can't go into the yard and pick it up.
        12               MR. DESROCHES:     It's the first I'm hearing of it, but
        13    I will find that out.
        14               MR. MURPHY:    Can you get their toilet working for
        15    them?
        16               JUDGE MORGAN:     Mr. DesRoches, he hasn't heard about
        17    this.   He is going to check into it.
        18               MR. DESROCHES:     It's the first I have heard of this.
        19               MR. MURPHY:    Cary, we will talk afterwards.
        20               JUDGE MORGAN:     Who have you been dealing with on it?
        21               MR. BOUCHARD:     That is not accurate.     I am not going
        22    to sit here and listen to that.
        23               JUDGE MORGAN:     Do you have a name?
        24               MR. BOUCHARD:     I'll tell you that is not accurate.
        25    Everybody at Boland knew about it.       As a matter of fact,
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11:26   1     Walter Haley told us we could come and get it and he would open
        2     the yard for us.    Then he called back and said, "I'm not
        3     allowed to do anything."
        4                JUDGE MORGAN:     Okay.   He is going to check into it --
        5                MR. BOUCHARD:     Thank you, Your Honor.
        6                JUDGE MORGAN:     -- and see if he can give you any
        7     help.
        8                      Anything else, Judge Vitter?
        9                JUDGE VITTER:     No.    I need to still rule on your
        10    consent motion?    There's no reason you can discuss this with
        11    him?
        12               MR. MURPHY:    I can discuss it with him.
        13                     If the attachment in Texas is found to be valid,
        14    then do you have a claim here?
        15               MR. DESROCHES:     Of course I do.
        16               JUDGE MORGAN:     It was a consent motion?
        17               JUDGE VITTER:     Yes.
        18               MR. DESROCHES:     I have a right to secure my claim.
        19               MR. MURPHY:    I thought you were saying after
        20    Judge Vitter's meeting if that Texas arrest was found to be
        21    valid that you weren't going to go behind him; you weren't
        22    going to go behind Bisso.
        23               MR. DESROCHES:     I'm securing my full claim.
        24               MR. PECK:    Yeah.   In order to perfect your claim,
        25    under maritime law you have to seize the vessel.          That's just
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11:27   1     the way the law is because the vessel is a separate person.
        2     That's the way it works.
        3                JUDGE MORGAN:     Anything else?
        4                JUDGE VITTER:     One other question.     How will I know
        5     what the Coast Guard does with the Bouchard Girls?
        6                COMMANDER YEMMA:      Well, we will --
        7                MR. MURPHY:    Probably through me.
        8                COMMANDER YEMMA:      Yeah, I think that's correct.      We
        9     have the request for reconsideration we are reviewing now.          If
        10    we were to stop federal response efforts and basically hand it
        11    over back to Bouchard, we would provide them correspondence on
        12    that.   If we deny the request, we will provide them
        13    correspondence on that too.
        14               JUDGE VITTER:     The order making them custodian would
        15    revert, goes back into effect?
        16               MR. MURPHY:    Well, I think the order of us being the
        17    custodian has not been changed.       It's a matter of the federal
        18    government stepped in to do these certain things, move the
        19    vessel from one location to another, put it at a berth, and now
        20    they are considering further action to remove it.          I think we
        21    are still the custodian of the vessel.
        22               MR. PECK:    Right.    There was authority to move it
        23    within the district.     There was an order.
        24               COMMANDER YEMMA:      At some point we may decide that
        25    the situation is stabilized and there's no more need for
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11:28   1     federally funded response efforts, and then we would provide
        2     that to Bouchard.
        3                 JUDGE MORGAN:    You-all will let Judge Vitter know.
        4                 MR. MURPHY:   I'll let Judge Vitter know and I'll let
        5     you know.
        6                 JUDGE MORGAN:    If it happens to ours, you will let us
        7     know.
        8                      Well, I want to thank you, the Coast Guard, for
        9     stepping in and taking care of something that could have been a
        10    risk to a lot of people and property.        Thank you for coming
        11    here today to tell us about it.
        12                COMMANDER YEMMA:    Thank you for having me.
        13                JUDGE VITTER:    Thank you.
        14                JUDGE MORGAN:    Thank you everybody.
        15                MR. BOUCHARD:    Your Honor, thank you very much for
        16    allowing me to do this by phone.         I appreciate it.
        17                MR. PECK:   Goodbye, Mr. Bouchard.
        18                MR. MURPHY:   Thank you, Mort.
        19                (Proceedings adjourned.)
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1                                   CERTIFICATE
2                I, Toni Doyle Tusa, CCR, FCRR, Official Court
3     Reporter for the United States District Court, Eastern District
4     of Louisiana, certify that the foregoing is a true and correct
5     transcript, to the best of my ability and understanding, from
6     the record of proceedings in the above-entitled matter.
7
8
9                                         /s/ Toni Doyle Tusa
                                          Toni Doyle Tusa, CCR, FCRR
10                                        Official Court Reporter
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